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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


TRIAS HOLDING AG,
                                                     Case No. 19-cv-00351
                        Plaintiff,
       v.                                            Judge Manish S. Shah

MCMOUTLETSTORES.US.ORG, et al.,                      Magistrate Judge Mary M. Rowland

                       Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Trias Holding

AG (“MCM” or “Plaintiff”), hereby dismisses this action, with leave to reinstate within one

hundred and eighty (180) days, as to the following Defendants:

            Defendant Name                                            Line No.
        IYAOLEE drop shipping Store                                      41
              chenfengtang                                               94


Dated this 4th day of April 2019.           Respectfully submitted,

                                            /s/ RiKaleigh C. Johnson
                                            Paul G. Juettner
                                            Justin R. Gaudio
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